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UNITED STATES DISTRICT COURT F 1 L _E D

NORTHERN DISTRICT oF oKLAHoMA
NOV‘ 0 7 2017

Mark C. McCartt, Clert<

( \§ ANJI BRADSHAW, as special
u.s. oisrmcr count

Administrator for the Estate of
Nathan Bradshaw, deceased,
Plaintiff,

VS

(z§ ARMoR coRRECrloNAL
HEALTH sERvIcEs, INC.,

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) CaseNo.:

§ 17 cv 615 rci< - FHM
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Defendant.

NOTICE OF REMOVAL
Pursuant to 28 U.S.C. § 1441, 28 U.S.C. § 1446, and 28 U.S.C. § 1332, Defendant Armor

Correctional Health Services, Inc, (hereinafter “Defendant” or “Armor”) by and through its
undersigned counsel, hereby file its Notice of Removal With this Court removing the above-
styled action now pending as Case No. CJ-2017-979 in the District Court in and for Tulsa
County, State of Oklahoma. As set forth more fully below, this case is properly removed to this
Court pursuant to 28 U.S.C. § 1441 because the court has subject-matter jurisdiction over this
action pursuant to 28 U.S.C. § 1332, as all properly joined and remaining parties are completely
diverse and the amount in controversy exceeds $75,000. Further Armor has satisfied the

procedural requirements for Removal.
BACKGROUND

l. On or about March 13, 2017, Plaintiff commenced this action against Defendant
Armor by filing a petition in the District Court of Tulsa County, in the State of
Oklahoma, bearing case number CJ-2017-979. (See Petition, attached as

Exhibit NO. 1).

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2. Plaintiff followed-up by filing an Amended Petition on March 15, 2017 adding claims
against Defendants Board of County Commissioners of the County of 'l`ulsa
(“BOCC”) and Colby Holman (“Holman”). (See Amended Petition, attached as
Exhibit No. 4).

3. Armor was served with summons on May 10, 2017, (See Summons attached as
Exhibit No. 15).

4. Defendant Armor filed a Special Entry of Appearance and moved to dismiss
Plaintifl’s Amended Petition for Failure to State a Clairn on May 30, 2017, (See Mot.
to Dismiss, attached as Exhibit No. 5).

5. Plaintiff filed a brief in opposition. (See Brief in Opp., attached as Exhibit No. 6).

6. The state court judge denied Armor’s motion to dismiss and gave Armor twenty-one
(21) days to file and Answer in response to Plaintiff s Amended Petition. (See Order
attached as Exhibit No. 7).

7. On or about July 7, 2017, Plaintiff was granted judgment against BOCC and thereby
BOCC Was dismissed from this action. (See Journal Entry of Judgment, attached as
Exhibit No. 10).

8. On July 10, 2017, Armor filed its Answer. (See Answer, attached as Exhibit No. ll).

9. As she purports in her discovery responses to Armor on October 13, 2017, Plaintiff
claims that she resolved the claims against Defendant Colby Holman and never
served him. (See Plaintiff s Discovery Responses, attached as
Exhibit No. 17, p. 29-30).

lO. Pursuant to 12 O.S. 2004(1), the action against Mr. Holman is deemed dismissed.

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ll. Defendant Armor only became aware of Plaintifl’s dismissal of Defendant Colby
Holman upon Plaintiff’s responses to Defendant’s discovery requests purported to
Armor on October 13, 2017.

12. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders properly
served upon Defendant are attached to this Notice of Removal. A copy of the docket

sheet is attached hereto as Exhibit No. l6.

GROUNDS FOR REMOVAL

13. This action may be removed under 28 U.S.C. §§ 144l(a) because this court has
jurisdiction under 28 U.S.C. § 1332. There is complete diversity of citizenship among
the remaining parties and the amount in controversy exceeds $75,000, exclusive of
interests and costs.

I. Removal is Timely

14. This Notice of Removal is timely as it is being filed within 30 days after receipt by
Armor of a paper from which it may be first ascertained that the case is one which has
become removable. 28 U.S.C. § l446(b)(3).

15. On October 13, 2017, Plaintiff purported to Armor that the claims against Colby
Holman had been resolved and he was no longer a party to this suit.
(See Exhibit No. 17).

16. Defendant Holman was not mentioned in the state court’s Journal Entry of Judgment
dismissing BOCC from this action on July 7, 2017. (See Exhibit No. 10).

17. Defendant Armor received notice that this action had become removable at that point
and this Notice of Removal is being filed on November 7, 2017; within 30 days

thereof.

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II. The Amount in Controversy Requirement is Satisfied

18. The amount-in-controversy requirement for diversity jurisdiction is satisiied in this
case because it is clear from the face of Plaintifi’s Amended Petition that the “matter
in controversy exceeds the sum or value of $75,000.00, exclusive of interest and
costs.” 28 U.S.C. § l332(a). Plaintiff specifically states in her Amended Petition that
she “respectfully requests the Court enter judgment upon the claims . . . in an amount
in excess of $75,000.00.” (Exhibit No. 4, Amended Petition, 11 85).

19. Aecordingly, it is evident that the amount of recovery sought by the Plaintiff exceeds
$75,000.00.

III. Complete Diversity of Citizenship Exists Between the Remaining Parties

20. Pursuant to 28 U.S.C. § 1332(c)(2), Plaintiff Anji Bradshaw is resident of Oklahoma.

21. Armor Correctional Health Services, Inc. is a health care services provider
incorporated in the State of Florida with its principal place of business in the State of
Florida, and, therefore is a citizen of the State of Florida for purposes for determining
diversity. (28 U.S.C. § l332(c)(1)).

22. Plaintiff admits Armor is a “Florida” corporation in her Amended Petition. (See
Amended Petition attached as Exhibit No. 4, 11 2).

23. Thus, because Armor, as the only remaining party, is a citizen of a state other than
Oklahoma there is complete diversity among the parties.

24. This action is under proper jurisdiction of the Northern District of Oklahoma pursuant
to 28 U.S.C. § 1332. This action is removed pursuant to 28 U.S.C. §§ l441(a), 1443,

and 1446.

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25. The United States District Court for the Northern District of Oklahoma has original
jurisdiction of this controversy, and Defendant is entitled to have said cause removed
thereto.

IV. Preservation of Rights

26. Armor hereby demands a trial by jury in this matter.

27. By removing this action to this Court, Armor does not waive any defenses, objections,
or motions available to it under state or federal law. Armor expressly reserves the right
to move for dismissal of Plaintist claims pursuant to Rule 12 of the Federal Rules of
Civil Procedure.

28. If any question arises as to the propriety of this removal, Arrnor requests the
opportunity to conduct discovery or brief and disputed issues and to present oral
argument in support of its position that this civil action is properly removable. See

McPhail v. Deere & Co., 529 F.3d 947, 954 (10th Cir. 2008).
CONCLUSION

WHEREFORE, Defendant Armor Correctional Health Services, Inc. prays that the Court
assume jurisdiction of this cause and proceed with it to completion, and to enter such orders and

judgments as may be necessary to protect its jurisdiction, or as justice may require.

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Respectfully submitted,

 

 

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CERTIFICATE OF MAILING

I hereby certify that on the 7th day of November, 2017 a true and correct copy of the
above and foregoing was electronically transmitted to the Clerk of Court using the ECF System
for filing and transmittal of a Notice of Electronic filing to the following ECF registrants:

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Az‘torneyfor Plaz`ntz`jjf

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/s/ J0 hua B. Romano
Joshi/a B. Romano

